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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

American Civil Liberties Union of
Massachusetts, Inc.,                                        Civil Action No. 19-10690-LTS
                       Plaintiff,
          vs.
U.S. Immigration and Customs Enforcement,
                        Defendant.


                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       The Defendant, U.S. Immigration and Customs Enforcement (“ICE”), by its attorney,

Andrew E. Lelling, United States Attorney for the District of Massachusetts, respectfully moves

the Court, pursuant to Rule 56 of the Federal Rules of Civil Procedure, for judgment in its favor.

       As grounds for its motion, ICE states that there is no genuine issue of material fact in this

proceeding, and that as a matter of law, judgment should be issued in its favor. In further

support, ICE relies upon its Memorandum of Law, Statement of Undisputed Material Facts, and

the Declaration of Toni Fuentes, Deputy Officer of the U.S. Immigration and Customs

Enforcement Freedom of Information Act Office.
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       WHEREFORE, the Defendant, ICE, requests that the Court grant its motion and enter

judgment in its favor.

                                           Respectfully submitted,

                                           ANDREW E. LELLING
                                           United States Attorney


                                    By:    /s/ Susan M. Poswistilo
                                           SUSAN M. POSWISTILO (BBO #565581)
                                           Assistant U.S. Attorney
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                             CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF).

Dated: September 11, 2019                         /s/ Susan M. Poswistilo
                                                  Susan M. Poswistilo
                                                  Assistant U.S. Attorney

                         LOCAL RULE 7.1. CERTIFICATION

       I certify that throughout the course of this proceeding, I consulted with counsel for
the Plaintiff in an attempt to modify or narrow the issues, but was unable to reach a
resolution.

                                                  /s/ Susan M. Poswistilo
                                                  Susan M. Poswistilo
                                                  Assistant U.S. Attorney




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